CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07/17)
1. CIR./DIST./ DIV. CODE                            2. PERSON REPRESENTED                                                               VOUCHER NUMBER
                                                     Garcia Luna
3. MAG. DKT./DEF. NUMBER                                       4. DIST. DKT./DEF. NUMBER                     5. APPEALS DKT./DEF. NUMBER                      6. OTHER DKT. NUMBER
                                                                19 Cr. 576 (BMC)
7. IN CASE/MATTER OF (Case Name)                               8. PAYMENT CATEGORY                           9. TYPE PERSON REPRESENTED                       10. REPRESENTATION TYPE
                                                               ✔ Felony
                                                               G                        G Petty Offense      G Adult Defendant            G Appellant             (See Instructions)
                                                               G Misdemeanor            G Other              ✔ Juvenile Defendant
                                                                                                             G                            G Appellee
                                                               G Appeal                                      G Other
11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, according to severity of offense.
 21:848(c)-CONTINUING CRIMINAL ENTERPRISE(1s),21:963, 960(b)(l)(B)(ii) and 959(d); 18:3238 and 3551 et seq.- International Cocaine Distribution Conspiracy(2s);21:846 and 841(b)(l)(A)(ii)(II);
 18:3551 et seq.- Conspiracy to Distribute and Possess with Intent to Distribute Cocaine21:963 and 960(b)(l)(B)(ii); 18:3551 et seq.- Conspiracy to Import Cocaine;18:1001(a)(2) and 3551 et seq.- Ma
12. ATTORNEY’S NAME (First Name, M.I., Last Name, including any suffix),                                     13. COURT ORDER
    AND MAILING ADDRESS                                                                                          G O Appointing Counsel                       ✔ C Co-Counsel
                                                                                                                                                              G
 Florian Miedel, Esq.                                                                                            G F Subs For Federal Defender                G R Subs For Retained Attorney
 MIEDEL & MYSLIWIEC LLP                                                                                          G P Subs For Panel Attorney                  G Y Standby Counsel
 80 Broad Street
 Suite 1900                                                                                                  Prior Attorney’s
 New York, New York 10004                                                                                        Appointment Dates:
                                                                                                              G Because the above-named person represented has testified under oath or has otherwise
                 Telephone Number :                           (212) 616-4042                                 satisfied this Court that he or she (1) is financially unable to employ counsel and (2) does
                                                                                                             not wish to waive counsel, and because the interests of justice so require, the attorney whose
14. NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)                                     name appears in Item 12 is appointed to represent this person in this case, OR
                                                                                                              G Other (See Instructions)
 Florian Miedel, Esq.
 MIEDEL & MYSLIWIEC LLP
                                                                                                                   Digitally signed by Brian M. Cogan
                                                                                                                                 Signature of Presiding Judge or By Order of the Court
 80 Broad Street
 Suite 1900                                                                                                                     8/1/2022
 New York, New York 10004                                                                                                    Date of Order                               Nunc Pro Tunc Date
                                                                                                             Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                             appointment.        G YES G NO
                                     CLAIM FOR SERVICES AND EXPENSES                                                                                 FOR COURT USE ONLY
                                                                                                                       TOTAL             MATH/TECH.             MATH/TECH.
                                                                                               HOURS                                                                                    ADDITIONAL
                  CATEGORIES (Attach itemization of services with dates)                                              AMOUNT              ADJUSTED               ADJUSTED
                                                                                              CLAIMED                                                                                     REVIEW
                                                                                                                      CLAIMED              HOURS                 AMOUNT
15.               a.   Arraignment and/or Plea                                                                                0.00                                           0.00
                  b.   Bail and Detention Hearings                                                                            0.00                                           0.00
                  c.   Motion Hearings                                                                                        0.00                                           0.00
                  d.   Trial                                                                                                  0.00                                           0.00
  In Court




                  e.   Sentencing Hearings                                                                                    0.00                                           0.00
                  f.   Revocation Hearings                                                                                    0.00                                           0.00
                  g.   Appeals Court                                                                                          0.00                                           0.00
                  h.   Other (Specify on additional sheets)                                                                   0.00                                           0.00
                  (RATE PER HOUR = $                                 )   TOTALS:                          0.00                0.00                   0.00                    0.00
16.               a.   Interviews and Conferences                                                                             0.00                                           0.00
                  b.   Obtaining and reviewing records                                                                        0.00                                           0.00
  Out of Court




                  c.   Legal research and brief writing                                                                       0.00                                           0.00
                  d.   Travel time                                                                                            0.00                                           0.00
                  e.   Investigative and other work (Specify on additional sheets)                                            0.00                                           0.00
                  (RATE PER HOUR = $                                 )   TOTALS:                          0.00                0.00                   0.00                    0.00
17.               Travel Expenses (lodging, parking, meals, mileage, etc.)
18.               Other Expenses (other than expert, transcripts, etc.)
GRAND TOTALS (CLAIMED AND ADJUSTED):                                                                                         0.00                                           0.00
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                                      20. APPOINTMENT TERMINATION DATE                        21. CASE DISPOSITION
                                                                                                                       IF OTHER THAN CASE COMPLETION
           FROM:                                                   TO:
22. CLAIM STATUS                               G Final Payment               G Interim Payment Number                                        G Supplemental Payment
                 Have you previously applied to the court for compensation and/or reimbursement for this case? G YES G NO               If yes, were you paid?    G YES G NO
                 Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything of value) from any other source in connection with this
                 representation? G YES         G NO            If yes, give details on additional sheets.
                 I swear or affirm the truth or correctness of the above statements.
                 Signature of Attorney                                                                                                            Date

                                                                     APPROVED FOR PAYMENT — COURT USE ONLY
23. IN COURT COMP.                                24. OUT OF COURT COMP.             25. TRAVEL EXPENSES              26. OTHER EXPENSES                      27. TOTAL AMT. APPR./CERT.
                                                                                                                                                               $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                                  DATE                                    28a. JUDGE CODE

29. IN COURT COMP.                                30. OUT OF COURT COMP.             31. TRAVEL EXPENSES              32. OTHER EXPENSES                      33. TOTAL AMT. APPROVED
                                                                                                                                                               $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approved                                         DATE                                    34a. JUDGE CODE
    in excess of the statutory threshold amount.




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